                 Case 1:24-cv-03774-MHC                         Document 14-1                Filed 10/24/24              Page 1 of 18
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Georgia
                                                                              __________
   SECURITIES AND EXCHANGE COMMISSION,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:24-cv-03774-MHC
 TANNER S. ADAM, JONATHAN L. ADAM, TRITEN                                     )
 FINANCIAL GROUP, LLC, and GCZ GLOBAL LLC,                                    )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                           Gemini Trust Company, LLC

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



  Place: Kristin W. Murnahan                                                            Date and Time:
           US Securities & Exchange Commission, 950 East                                                     11/13/2024 9:00 am
           Paces Ferry Road, N.E., Suite 900, Atlanta, GA 30326

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/24/2024

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
U.S. Securities and Exchange Commission                                 , who issues or requests this subpoena, are:
Kristin W. Murnahan, 950 E. Paces Ferry Rd., N.E., Ste. 900, Atlanta, Ga. 30326, murnahank@sec.gov, (404) 842-7655

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                 Case 1:24-cv-03774-MHC                         Document 14-1                Filed 10/24/24              Page 2 of 18
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:24-cv-03774-MHC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                  Case 1:24-cv-03774-MHC                          Document 14-1                 Filed 10/24/24                Page 3 of 18
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
     Case 1:24-cv-03774-MHC         Document 14-1         Filed 10/24/24       Page 4 of 18




                                         EXHIBIT A


A.    DEFINITIONS & INSTRUCTIONS:

      1.    “Gemini” means the entity doing business under the name “Gemini Trust
            Company, LLC”, including parents, subsidiaries, affiliates, predecessors,
            successors, officers, directors, employees, agents, general partners, limited
            partners, partnerships and aliases, code names, or trade or business names used by
            any of the foregoing.

      2.    Reference to an Entity shall also include that entity’s corporate parents, subsidiaries,
            affiliates, predecessors, and successors, as well as trade names, or business names
            used by, or formerly used by the entity.

      3.    Reference to a Person shall also include that person’s trusts, affiliates, employees,
            agents, partners, and independent contractors, as well as aliases, code names,
            trade names, or business names used by, or formerly used by, the person.

      4.    The term “Document” means any written, printed, or typed matter including, but
            not limited to all drafts and copies bearing notations or marks not found in the
            original, letters and correspondence, interoffice communications, slips, tickets,
            records, worksheets, financial records, accounting documents, bookkeeping
            documents, memoranda, reports, manuals, telephone logs, telegrams, facsimiles,
            messages of any type, telephone messages, voice mails, tape recordings, notices,
            instructions, minutes, summaries, notes of meetings, file folder markings, and any
            other organizational indicia, purchase orders, information recorded by
            photographic process, including microfilm and microfiche, computer printouts,
            spreadsheets, blockchain identifiers (e.g., hashes, pointers, etc.) to documents
            stored on a blockchain, and other electronically stored information, including but
            not limited to writings, drawings, graphs, charts, photographs, sound recordings,
            images, and other data or data compilations that are stored in any medium from
            which information can be retrieved, obtained, manipulated, or translated.

      5.    The term “Activity” means any transaction, trade, deposit, withdrawal, swap,
            internal transfer, bid, ask, offer, purchase, sale, redemption, reward, loan, staking,
            receipt or payment of fees, or any other event captured, recorded, or generated by
            Gemini.

      6.    The term “Order” means any request, instruction, notes, or directive to conduct
            any Activity.

      7.    The term “Communication” means any correspondence, contact, discussion, e-
            mail, instant message, or any other kind of oral or written exchange or
            transmission of information (in the form of facts, ideas, inquiries, or otherwise)
            and any response thereto between two or more Persons or entities, including,
Case 1:24-cv-03774-MHC        Document 14-1         Filed 10/24/24      Page 5 of 18




       without limitation, all telephone conversations, face-to-face meetings or
       conversations, internal or external discussions, or exchanges of a Document or
       Documents.

 8.    The term “Concerning” means directly or indirectly, in whole or in part,
       describing, constituting, evidencing, recording, evaluating, substantiating,
       concerning, referring to, alluding to, in connection with, commenting on, relating
       to, regarding, discussing, showing, analyzing or reflecting.

 9.    The following rules of construction apply to this attachment:

       a.     the functional words “any” and “all” shall be deemed to include the other
              functional word;

       b.     the connectives “and” and “or” shall be construed either disjunctively or
              conjunctively as necessary to bring within the scope of the attachment all
              responses that might otherwise be construed to be outside of its scope;

       c.     the use of the singular form of any word includes the plural and vice versa;
              and

       d.     the term “including” means including, but not limited to.

 10.   Please put an identifying notation on each page of each document to indicate that
       it was produced by your bank, produced in this matter, and the page number of all
       the documents submitted.

 11.   The term “Relevant Period” shall mean the time period beginning with account
       inception or account application date, whichever is earlier. Please initially produce
       the items called for in this subpoena from account inception through the date of this
       subpoena. Thereafter, please produce the items called for in this subpoena that were
       obtained or created following the date of this subpoena as requested by Commission
       staff.
     Case 1:24-cv-03774-MHC             Document 14-1    Filed 10/24/24      Page 6 of 18




B.    DOCUMENTS TO BE PRODUCED

1.    Documents sufficient to identify all Gemini associated with the transactions listed below
      (the “Transactions”), including:

 Txn Hash             Sending Address       Receiving Address    Amount           Asset
 4rkcFFGWtN9ekjn
                      HFWv1riXSRJ3n
 vspq7mybtE1i4r4h                           p9amKcZseMWwP
                      VnnLZ9xi1K4r3z
 SvJJatuG1cKx88na                           todqN2YuX6LUDr
                      ppRvcfVuiAGqA                              57.13459         SOL
 Y43T48HtuSPmE6                             Kh2YyhEeJXZa1s
                      A8Y6
 uj1hhC75iwnk3f6b                           YV
 ftEDWnfVwwF



      a.     For each account identified in response to Request 1 (the “Accounts”),
             Documents sufficient to identify the holder(s) of the Account, all Gemini accounts
             they hold, their current residential or billing address(es), telephone number(s),
             email address(es), credit card numbers, checking account numbers, and any other
             financial institution or service used by the Account holder to transfer funds to or
             from Gemini.

      b.     Documents sufficient to identify IP address(es) used to connect to each Account.

      c.     All account opening Documents or user information for each Account.

      d.     For each Account, Documents sufficient to identify the Account’s Gemini
             transaction history (including any transactions which were reversed or failed in
             processing), including, but not limited to, for each transaction, Documents
             sufficient to identify:

                    i.The participating accounts;

                   ii. Date and time;

                  iii.Transaction identifiers for withdrawals and deposits off of the Account, to
                      include blockchain identifiers such as tx hash, external (non-Account)
                      address, blockchain epoch and/or datetime, and USD estimate prices at the
                      time of the transaction;

                  iv.Assets exchanged in orders;

                   v.Sum volume of assets in orders, separated by buy and sell;

                  vi.USD estimate price(s) of above orders;
     Case 1:24-cv-03774-MHC         Document 14-1          Filed 10/24/24    Page 7 of 18




                vii. Total transaction count for orders;

                viii. Linked financial institutions, if any, including their names and addresses,
                     and their routing and account number(s) for the origination to, and
                     destination from, Gemini; and

                 ix.Instructions, or memo line or description, associated with the transaction.


2.    All Communications between Gemini and the holder(s) of each Account.
                             Case 1:24-cv-03774-MHC                                                     Document 14-1                                  Filed 10/24/24
                                                                                                                                                              U.S. SecuritiesPage  8 of 18Commission
                                                                                                                                                                              and Exchange
                                                                                                                                                                                                           Data Delivery Standards


                                                                           U.S. Securities and Exchange Commission

                                                                                                Data Delivery Standards


    This document describes the technical requirements for paper and electronic document productions to the U.S.
    Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
    described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
    prior to submission.**

    General Instructions .............................................................................................................................................................................. 1
    Delivery Formats ............................................................................................................................................................ 2
         I. Imaged Productions.............................................................................................................................................................................................................................. 3
                 1. Images ...................................................................................................................................................................................... 3
                 2. Image Cross-Reference File .................................................................................................................................................... 3
                 3. Data File .................................................................................................................................................................. 3
                 4. Text ..................................................................................................................................................................................... 3
                 5. Linked Native Files ................................................................................................................................................................. 3
         II. Native File Productions without Load Files ............................................................................................................................. 4

         III. Adobe PDF File Productions ............................................................................................................................................... 4

         IV. Audio Files .......................................................................................................................................................................... 4

         V.       Video Files .......................................................................................................................................................................... 4

         VI. Electronic Phone Records .................................................................................................................................................... 4

         VII. Electronic Trade and Bank Records ..................................................................................................................................... 4

         VIII. Audit Workpapers .............................................................................................................................................................. 5

         IX. Mobile Device Data ............................................................................................................................................................. 5


    General Instructions

    The current mailing address for all physical productions sent to the SEC is:
    ENF-CPU (U.S. Securities & Exchange Commission), 14420 Albemarle Point Place, Suite 102, Chantilly, VA 20151-1750

    Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
    normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a spreadsheet.
    (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

    In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
    other format options with the producing party.

    The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
    the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
    Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
    the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to the
    SEC.
                                                                                                                             1
                                                                                                                                                                                                      Rev 07/2024
                  Case 1:24-cv-03774-MHC                 Document 14-1            Filed 10/24/24
                                                                                         U.S. SecuritiesPage  9 of 18Commission
                                                                                                         and Exchange
                                                                                                              Data Delivery Standards

    General requirements for ALL document productions are:

      1.  A cover letter must be included with each production and should include the following information:
               a. Case number, case name and requesting SEC staff member name
               b. A list of each piece of media included in the production with its unique production volume number
               c. A list of custodians, identifying the Bates range for each custodian
               d. A list of redacted documents and the redaction reason
               e. The time zone in which the emails were standardized during conversion
               f. Whether the production contains native files produced from Mac operating system environments
      2. Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
          labeled with the following:
               a. Case number
               b. Production date
               c. Producing party
               d. Bates range (if applicable)
      3. All submissions must be organized by custodian unless otherwise instructed.
      4. All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
          should follow parent files sequentially in the Bates numbering.
      5. All load-ready collections should include only one data load file and one image pointer file.
      6. All load-ready text must be produced as separate document-level text files.
      7. All load-ready collections should account for custodians in the custodian field.
      8. All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
          as separate records.
      9. Audio files should be separated from data files if both are included in the production.
      10. Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
          are not permitted.
      11. All electronic productions submitted on media must be produced using industry standard self-extracting encryption software.
      12. The SEC uses 7zip to access compressed files. Note that the SEC cannot accept files that use AES-256 Jpeg or pkAES-256-
          Cert Deflate compression methods, even if the files are created with 7zip. If you have any questions or need additional
          information, please reach out to the requesting SEC staff member.
      13. Electronic productions of 30 GB or less are strongly encouraged to be submitted via Secure File Transfer. All Secure File
          Transfers should be sent to the SEC Centralized Production Unit (ENF-CPU@sec.gov) with a CC to the requesting SEC staff
          member. If you do not have your own Secure File Transfer application, you may reach out to the requesting SEC staff member
          for a link to the SEC system in order to upload your production. If using the SEC Secure File Transfer system, you will NOT
          be able to CC individuals outside the SEC on your upload transmission. Note that the SEC cannot accept productions made
          using file sharing sites such as Google Drive or Microsoft Office 365.
      14. Productions containing BSA or SAR material must be encrypted. Secure File Transfer applications may be used to produce
          BSA or SAR material. BSA or SAR material should be segregated and appropriately marked as BSA or SAR, or should be
          produced separately from other case related records.
      15. Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
          email or in a cover letter apart from the media.
      16. All electronic productions should be produced free of computer viruses.
      17. Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
          discuss appropriate handling.
      18. Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
          reach out to the requesting SEC staff member in order to discuss an appropriate production format.
      19. Additional technical descriptions can be found in the addendum to this document.

           *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a
           result electronic productions may be damaged.*




                                                                    2
                                                                                                          Rev 07/2024
                   Case 1:24-cv-03774-MHC                 Document 14-1            Filed 10/24/24       Page
                                                                                           U.S. Securities      10 of 18
                                                                                                           and Exchange Commission
                                                                                                                  Data Delivery Standards

    Delivery Formats

    I.   Imaged Productions
         The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
         standard load files, Bates numbered image files, native files and searchable document-level text files. Bates numbers should not
         contain spaces. Hyphens ( - ) and underscores ( _ ) are acceptable.

         1.   Images
              a. Black and white images must be 300 DPI Group IV single-page TIFF files
              b. Color images must be produced in JPEG format
              c. File names cannot contain embedded spaces or special characters (including the comma)
              d. Folder names cannot contain embedded spaces or special characters (including the comma)
              e. All image files must have a unique file name, i.e. Bates number
              f. Images must be endorsed with sequential Bates numbers in the lower right corner of each image
              g. The number of image files per folder should not exceed 2,000 files
              h. Excel spreadsheets should have a placeholder image named by the Bates number of the file
              i. AUTOCAD/photograph files should be produced as a single page JPEG file

         2.    Image Cross-Reference File
               The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
               file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
               following format:
                      ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

         3. Data File
            The data file (.DAT) contains all of the fielded information that will be loaded into the database.

              a.  The first line of the .DAT file must be a header row identifying the field names
              b.  The .DAT file must use the following Concordance® default delimiters:
                      Comma ASCII character (020)
                      Quote þ ASCII character (254)
               c. If the .DAT file is produced in Unicode format it must contain the byte order marker
               d. Date fields should be provided in the format: mm/dd/yyyy
               e. Date and time fields must be two separate fields
               f. The time zone must be included in all time fields
               g. If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
                  parent/child relationship between an email and its attachments
               h. An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
                  storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
               i. For productions with native files, a LINK field must be included to provide the file path and name of the native file
                  on the produced storage media. The native file must be named after the FIRSTBATES.
               j. BEGATTACH and ENDATTACH fields must be two separate fields
              k. A complete list of metadata fields is available in Addendum A to this document

         4. Text
            Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
            per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
            may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production. Note
            that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
            characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files. There
            should be no special characters (including commas) in the folder names. For redacted documents, provide the full text for
            the redacted version.

         5.    Linked Native Files
               Copies of original email and native file documents/attachments must be included for all electronic productions.
               a. Native file documents must be named per the FIRSTBATES number
               b. The full path of the native file must be provided in the .DAT file for the LINK field
               c. The number of native files per folder should not exceed 2,000 files


                                                                      3
                                                                                                             Rev 07/2024
                 Case 1:24-cv-03774-MHC                   Document 14-1            Filed 10/24/24       Page
                                                                                           U.S. Securities      11 of 18
                                                                                                           and Exchange Commission
                                                                                                                 Data Delivery Standards

    II. Native File Production without Load Files
        With prior approval, native files may be produced without load files. Native file productions should not be Bates numbered.
        Native files must be produced as they are maintained in the normal course of business and organized by custodian-named file
        folders. Native email files (.PST or .MBOX) must be separated by custodian.

III.     Adobe PDF File Production
         With prior approval, Adobe PDF files may be produced in native file format.
             1. All PDFs must be unitized at the document level, i.e. each PDF must represent a discrete document.
             2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any special
                 characters (including commas).
             3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
                 or image only. This requires all layers of the PDF to be flattened first.
             4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

    IV. Audio Files
        Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
        Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
        metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
        The metadata must include, at a minimum, the following fields:
               1) Caller Name:        Caller’s name or account/identification number
               2) Originating Number: Caller’s phone number
               3) Called Party Name: Called party’s name
               4) Terminating Number: Called party’s phone number
               5) Date:               Date of call
               6) Time:               Time of call
               7) Filename:           Filename of audio file

    V.    Video Files
          Video files must be produced in a format that is playable using Microsoft Windows Media Player™.


VI.       Electronic Phone Records
          When producing an MS Excel spreadsheet for electronic phone records, provide the files in the following format:

          1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
               separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
               separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
               dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                   a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                         loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                         not combined into a single column containing both pieces of information. Any fields of data that are provided
                         in addition to those listed in Addendum B must also be loaded into separate columns.


    VII. Electronic Trade and Bank Records
         When producing electronic trade records, bank records, or financial statements, provide the files in one of the following formats:

          1. MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header, a
             separate document must be provided that includes such details. The fields and information that must be included are
             outlined in Addendum C of this document.

          2. Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details. The fields and
             information that must be included are outlined in Addendum C of this document.



                                                                      4
                                                                                                             Rev 07/2024
                Case 1:24-cv-03774-MHC                Document 14-1           Filed 10/24/24       Page
                                                                                      U.S. Securities      12 of 18
                                                                                                      and Exchange Commission
                                                                                                          Data Delivery Standards

    VIII. Audit Workpapers
          The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
          Delivery Standards; and (2) in native format via laptop computer, web-based viewing platform, or otherwise, allowing for
          viewing in the same format and organization as the firm’s audit team. Prior to production of workpapers via laptop computer
          or web-based viewing platform, audit firms should contact the requesting SEC staff member for additional information and
          written agreements addressing use of software, access, and viewing protocols.

    IX. Mobile Device Data
         Before producing any mobile device data (including but not limited to text messages and application data) parties should
         reach out to the requesting SEC staff member in order to discuss the appropriate production format. Productions containing
         chat data from applications must be identified at the time of production and the following information must be provided to
         the requesting SEC staff member and the SEC Centralized Production Unit: chat application, chat data format, and how the
         length of a chat is determined (i.e. set duration of time, number of minutes without messages, etc.)




                                                                  5
                                                                                                       Rev 07/2024
              Case 1:24-cv-03774-MHC              Document 14-1           Filed 10/24/24       Page
                                                                                  U.S. Securities      13 of 18
                                                                                                  and Exchange Commission
                                                                                                     Data Delivery Standards



                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                     Description
         FIRSTBATES            EDC0000001                      First Bates number of native file document/email
         LASTBATES             EDC0000001                      Last Bates number of native file document/email
                                                               **The LASTBATES field should be populated
                                                                  for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015         Bates number of the first page of the parent
                                                               document to the Bates number of the last page of the
                                                               last attachment “child” document
         BEGATTACH             EDC0000001                      First Bates number of attachment range
         ENDATTACH             EDC0000015                      Last Bates number of attachment range
         PARENT_BATES          EDC0000001                      First Bates number of parent document/Email
                                                               **This PARENT_BATES field should be populated
                                                                  in each record representing an attachment “child”
                                                                  document
         CHILD_BATES           EDC0000002; EDC0000014          First Bates number of “child” attachment(s); can be
                                                               more than one Bates number listed depending on the
                                                               number of attachments
                                                               **The CHILD_BATES field should be populated in
                                                                  each record representing a “parent” document
         CUSTODIAN             Smith, John                     Email: Mailbox where the email resided
                                                               Native: Name of the individual or department from
                                                               whose files the document originated
         FROM                  John Smith                      Email: Sender
                                                               Native: Author(s) of document
                                                               **semi-colon should be used to separate multiple
                                                                  entries
         TO                    Coffman, Janice; LeeW           Recipient(s)
                               [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                  entries
         CC                    Frank Thompson [mailto:         Carbon copy recipient(s)
                               frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                  entries
         BCC                   John Cain                       Blind carbon copy recipient(s)
                                                               **semi-colon should be used to separate multiple
                                                                  entries
         SUBJECT               Board Meeting Minutes           Email: Subject line of the email
                                                               Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx        Native: Name of the original native file, including
                                                               extension
         DATE_SENT             10/12/2010                      Email: Date the email was sent
                                                               Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                           Email: Time the email was sent/ Time zone in which
         _ZONE                                                 the emails were standardized during conversion.
                                                               Native: (empty)
                                                               **This data must be a separate field and cannot be
                                                                  combined with the DATE_SENT field
         TIME_ZONE             GMT                             The time zone in which the emails were standardized
                                                               during conversion.
                                                               Email: Time zone
                                                               Native: (empty)

                                                              6
                                                                                                 Rev 07/2024
       Case 1:24-cv-03774-MHC           Document 14-1      Filed 10/24/24       Page
                                                                   U.S. Securities      14 of 18
                                                                                   and Exchange Commission
                                                                                      Data Delivery Standards
    LINK           D:\001\ EDC0000001.msg       Hyperlink to the email or native file document
                                                **The linked file must be named per the
                                                   FIRSTBATES number
    MIME_TYPE      application/msword           The content type of an email or native file document
                                                as identified/extracted from the header
    FILE_EXTEN     MSG                          The file type extension representing the email or
                                                native file document; will vary depending on the
                                                format
    AUTHOR         John Smith                   Email: (empty)
                                                Native: Author of the document
    LAST_AUTHOR    Jane Doe                     Email: (empty)
                                                Native: Last Author of the document
    DATE_CREATED   10/10/2010                   Email: (empty)
                                                Native: Date the document was created
    TIME_CREATED/T 10:25 AM GMT                 Email: (empty)
    IME_ZONE                                    Native: Time the document was created including time
                                                zone
                                                **This data must be a separate field and cannot be
                                                   combined with the DATE_CREATED field
    DATE_MOD       10/12/2010                   Email: (empty)
                                                Native: Date the document was last modified
    TIME_MOD/TIME_ 07:00 PM GMT                 Email: (empty)
    ZONE                                        Native: Time the document was last modified including
                                                the time zone
                                                **This data must be a separate field and cannot be
                                                   combined with the DATE_MOD field
    DATE_ACCESSD   10/12/2010                   Email: (empty)
                                                Native: Date the document was last accessed
    TIME_ACCESSD/T 07:00 PM GMT                 Email: (empty)
    IME_ZONE                                    Native: Time the document was last accessed including
                                                the time zone
                                                **This data must be a separate field and cannot be
                                                   combined with the DATE_ACCESSD field
    PRINTED_DATE   10/12/2010                   Email: (empty)
                                                Native: Date the document was last printed
    FILE_SIZE      5,952                        Size of native file document/email in KB
    PGCOUNT        1                            Number of pages in native file document/email
    PATH           J:\Shared\SmithJ\October     Email: (empty)
                   Agenda.doc                   Native: Path where native file document was stored
                                                including original file name.
    INTFILEPATH    Personal Folders\Deleted     Email: original location of email including original
                   Items\Board Meeting          file name.
                   Minutes.msg                  Native: (empty)
    INTMSGID       <000805c2c71b$75977050$cb    Email: Unique Message ID
                   8306d1@MSN>                  Native: (empty)




                                               7
                                                                                   Rev 07/2024
             Case 1:24-cv-03774-MHC             Document 14-1           Filed 10/24/24       Page
                                                                                U.S. Securities      15 of 18
                                                                                                and Exchange Commission
                                                                                                         Data Delivery Standards
         HEADER             Return-Path:                     Email: The email header information
                            <example_from@dc.edu>            Native: (empty)
                            X-SpamCatcher-Score:1[X]
                            Received:from[136.167.40.119]
                            (HELO dc.edu)
                            by fe3.dc.edu (CommuniGate
                            Pro SMTP4.1.8)
                            with ESMTP-TLS id 61258719
                            for example_to@mail.dc.edu;
                            Mon, 23 Aug 2004 11:40:10 -
                            0400
                            Message-ID:
                            <4129F3CA.2020509@dc.edu>
                            Date: Mon, 23 Aug 2005
                            11:40:36 -400
                            From:        Taylor        Evans
                            <example_from@dc.edu>
                            User-Agent:Mozilla/5.0
                            (Windows;U; Windows NT 5.1;
                            en-US;rv:1.0.1)
                            Gecko/20020823 Netscape/7.0
                            X-Accept-Language:en-us,en
                            MIME-Version:1.0
                            To:           Jon          Smith
                            <example_to@mail.dc.edu>
                            Subject:Business Development
                            Meeting
                            Content-Type:
                            text/plain;charset=us-ascii;
                            format=flowed
                            Content-Transfer-Encoding:7bit
         SHA256             AD6128C5CA40164AF71A1E SHA-256 hash value of the document.
                            FC800E12D2F195CE07BB5F8
                            C813B0888A2DDE6A06F

         OCRPATH            TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:

          IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
          IMG0000002,,E:\001\IMG0000002.TIF,,,,
          IMG0000003,,E:\001\IMG0000003.TIF,,,,
          IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
          IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
          IMG0000006,,E:\001\IMG0000006.TIF,,,,
                             




                                                           8
                                                                                                      Rev 07/2024
                 Case 1:24-cv-03774-MHC               Document 14-1           Filed 10/24/24       Page
                                                                                      U.S. Securities      16 of 18
                                                                                                      and Exchange Commission
                                                                                                       Data Delivery Standards
             
                                                        ADDENDUM B
            
For Electronic Phone Records, include the following fields in separate columns:

For Calls:

    1) Account Number
    2) Connection Date – Date the call was received or made
    3) Connection Time – Time call was received or made
    4) Seizure Time – Time it took for the call to be placed in seconds
    5) Originating Number – Phone that placed the call
    6) Terminating Number – Phone that received the call
    7) Elapsed Time – The length of time the call lasted, preferably in seconds
    8) End Time – The time the call ended
    9) Number Dialed – Actual number dialed
    10) IMEI Originating – Unique id to phone used to make call
    11) IMEI Terminating– Unique id to phone used to receive call
    12) IMSI Originating – Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes – Identify call direction or other routing information
    15) Time Zone – Time Zone in which the call was received or placed, if applicable


For Text Messages:

    1) Account Number
    2) Connection Date – Date the text was received or made
    3) Connection Time – Time text was received or made
    4) Originating Number – Who placed the text
    5) Terminating Number – Who received the text
    6) IMEI Originating – Unique id to phone used to make text
    7) IMEI Terminating– Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code – Identify text direction, or other text routing information
    11) Text Type Code – Type of text message (sent SMS, MMS, or other)
    12) Time Zone – Time Zone in which the call was received or placed, if applicable


For Mobile Data Usage:

    1)   Account Number
    2)   Connection Date – Date the data was received or made
    3)   Connection Time – Time data was received or made
    4)   Originating number – Number that used data
    5)   IMEI Originating – Unique id of phone that used data
    6)   IMSI Originating - Unique id of phone that used data
    7)   Data or Data codes – Identify data direction, or other data routing information
    8)   Time Zone – Time Zone in which the call was received or placed, if applicable




                                                                 9
                                                                                                   Rev 07/2024
               Case 1:24-cv-03774-MHC                  Document 14-1            Filed 10/24/24       Page
                                                                                        U.S. Securities      17 of 18
                                                                                                        and Exchange Commission
                                                                                                             Data Delivery Standards
                                                                    
                                                         ADDENDUM C


For electronic account transaction data in MS Excel spreadsheet file format, or in a delimited text file format with a preferred
vertical bar delimiter, include the following (or similar) fields of information in columnar form and in separate tabs of the
spreadsheet/delimited text file:

    A. Account Information Tab
       Listing of accounts produced showing the following:
            1. Account Title
            2. Account Address
            3. Account Number
            4. Account Type
            5. Taxpayer Identification #
            6. Account Open Date
            7. Account Closed Date
            8. Account Owners/Signatories
            9. Relationship (e.g., CEO, CFO, officer, treasurer, founding member, account owner, etc.)

    B. Account Transaction Information Tab
       Download of transaction data for all accounts produced showing the following:
          1. Account Number
          2. Transaction ID #
          3. Transaction Type (e.g., deposit, withdrawal, check, incoming wire, outgoing wire, ACH transaction, account
               transfer, account fee, cashiers check, etc.)
          4. Transaction Post Date
          5. Transaction Date
          6. Transaction Amount
          7. Transaction Amount Code (e.g., debit or credit)
          8. Check#
          9. Transaction Description (e.g., payor/payee of transaction, name of merchant/business or individual receiving or
               depositing funds, etc.)
          10. Account Balance

    C. Detail Information Tab for Wire Transfers, ACH Transactions, and Other Bank/Account Transfers
       Download of additional information concerning any of the transactions in Section B, related to any wire transfer, ACH
       transaction, and other bank/account transfer transaction information showing the following or similar information:
            1. Account Number
            2. Transaction Reference #
            3. Transaction Date (date that transaction posts to an account)
            4. Transaction Type (e.g., incoming/outgoing wire, incoming/outgoing ACH transaction, incoming/outgoing other
                 bank/account transfer, etc.)
            5. Transaction Amount
            6. Transaction Amount Code (e.g., debit or credit)
            7. Originator Name
            8. Originator Address
            9. Originator ID / Bank Acct# (bank account# of the debit/payor side of the wire)
            10. Beneficiary Name
            11. Beneficiary Address
            12. Beneficiary ID / Bank Acct# (bank account# of the credit/payee side of the wire)
            13. Debit ID (bank name and address for debit/payor side of transaction)
            14. Credit ID (bank name and address for credit/payee side of transaction)

                                                                  10
                                                                                                         Rev 07/2024
              Case 1:24-cv-03774-MHC               Document 14-1           Filed 10/24/24       Page
                                                                                   U.S. Securities      18 of 18
                                                                                                   and Exchange Commission
                                                                                                       Data Delivery Standards
            15. Originator to Beneficiary Information
            16. Bank to Bank Instruction
            17. Other available wire transaction information captured by bank that is not referenced above

    D. Legend Tab
       Listing of any codes used or contained in the information provided above.




                                                              11
                                                                                                   Rev 07/2024
